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UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF NEW JERSEY

corporation,

Defendants.

JONATHAN DAVlD on behalf of himself )
and all others similarly situated, )
l
Plaintiff, ) NO.
vs. )
) CLASS ACTION COMPLAINT
VOLKSWAGEN GROUP OF AMERICA, )
INC., a New lersey corporation, )
VOLKSWAGEN AG, a foreign ) JURY TRIAL DEMAND t
)
)
)
)

 

 

Plaintiff Jonathan David (“Plaintiff”), individually and on behalf of all others similarly
situated, by and through counsel, brings this Class Action Complaint against Voll<swagen Group
ofAmerica, Inc., and Voll<swagen AG, (“Defendants” or “Volkswagcn”) and upon Plaintiff‘ s own
acts and experiences, information and belief, and investigation of eounsel, states as follows:

l. JURISDTCTION AND VENUE

l. This Coui“t has original jurisdiction over this action under 28 U.S.C. section l332(d)
of the Class Action Fairness Act because the aggregated claims of the class members in this matter
exceeds the sum or value of $5,000,000 exclusive of interest and costs, because Plaintiff and
Defendants are residents of different states, and there are at least one hundred members of the
proposed classes

2. Venue is proper in this Court pursuant to 28 U.S.C. section 1391 because Plaintiil"
suffered injuries as a result of Defendant’s acts in this District, a substantial number of the events
giving rise to this Complaint occurred in this District, and Defendant (l) is a New Jersey

corporation authorized to conduct business in this District and has intentionally availed itself of

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the laws and markets of this District by conducting business in this District; and (2) are subject to
personal jurisdiction in this District.
3. Subj ect-matter jurisdiction also arises under Magnuson-Moss Warranty Act claims

asserted under 15 U.S.C. § 2301, et seq.

Il. PARTIES
4. Jonathan David is a resident of Castle Rocl<, Colorado, located in Douglas County.
5. \ Volksvvagen Group of America, lnc. (“Volkswagen America”) is a New .lersey

corporation With its principal place ot`busincss located at 2200 Ferdinand Porsche Drivc, Herndon,
Virginia 20171.

6. Voll<svvagen America through its various entities designs, manufactures, markets,
distributcs, and sells Volkswagen automobiles in multiple locations across the United States,_
including Colorado. Voll<svvagen Amcrica and/or its agents designed, manufactured, and installed
the panoramic sunroofs in the vehicles at issue in this case. Volkswagen America also developed
and disseminated the owncr’s manuals and Wan'anty bool<lets,' advertisements, and other
promotional materials relating to the vehicles at issue in this case.

7. Defendant Vol_l<svvagen AG (“Voll<svvagen Global”) is a German corporation
headquartered in Wolfsburg, Germany.

8. Voll<swagen Global is engaged in the business of designing, engineering,
manufacturingj testing, marketing, supplying, selling, and distributing motor vehicles, including
the vehicles at issue in this case, in the United States.

9. Voll<swagen Global is and Was at all relevant times doing business in a continuous
manner through a chain of distribution and dealers throughout the United States, including vvithin

this District by selling, advertising, promoting, and distributing Voll<swagen motor vehicles

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lO. Through its wholly-owned subsidiaries and/or agents, Volkswagen Global markets
its products in a continuous manner in the United States, including in this Distn`ct and in the State
of Colorado.

ll. Volkswagen Global is the parent of, controls, and communicates with Voll<swagen
America concerning virtually all aspects of the Voikswagen vehicles distributed in the United
States.

12, Voll<swagen America acts as the sole distributor for Volkswagen vehicles in the
United States, purchasing those vehicles from Voll<swagen Global for sale in this country.

13. Volkswagen Global also developed, reviewed, and approved the marketing and
advertising campaigns designed to sell the vehicles at issue in this case.

14. The relationship between Voll<swagen Global and Voll<swagen Global is governed
by a General Distributor Agreement that gives Volkswagcn Global the right to control nearly every
aspect of Volkswagen America’s operations_including sales, marketing, management policies,
information govemancc policies, pricing, and warranty terms.

15. Volltswagen Group of Amcrica, lnc. is a wholly owned subsidiary of Volkswagen
AG.

lll. NATURE OF THE CASE.

16. Historically, automobile sunroofs have been modestly sized, spanning just a small
portion of the roof over the driver and front passenger seats.

l7. Starting in the mid-ZOOOS, automobile manufacturers expanded sunroofs in size so
that now these sunroofs (i.e., sheet(s) of glass) account for nearly the entire roof of the vehicle.

These expanded sunroofs are often referred to as “panoramic.”

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lS. While panoramic sunroofs are aesthetically plcasing, and thus command a premium
price, they also pose new and significant engineering challenges Replacing metal roofs and small
glass sunroofs with large plates of glass requires precision in the strengthening, attachment, and
stabilization of the glass.

l9. Like other manufacturers, Volkswagcn has failed to meet these engineering
challenges, as is evidenced by its own panoramic sunroofs’ propensity to spontaneously shatter
(referred to herein as “the Defect”). In December of2014, Volkswagen issued a safety recall of a
limited set of model years of its vehicles with defective panoramic sunroofs.

20. The panoramic sunroof shattering events are so powerful that startled drivers
compare it to the sound of a gunshot, after which glass fragments often rain down upon the
occupants of the vehicle, sometimes while driving at highway speeds.

21. For Volkswagen vehicles, at least 60 owners of vehicles with defective sunroofs
have reported to the National Highway Traflic and Safety Administrati_on (“NHTSA”) that their
sum‘oofs have spontaneously exploded or shattered A sampling of these consumer complaints is
attached as Exhibit l (these consumer complaints were accessed at http://www-
odi.nhtsa.dot.gov/owners/SearchSafetyIssues on September 25, 201 ?).

22. Volkswagen knew or should have known about the Defect since at least 201 0 when
a NHTSA complaint was filed regarding the Defect in the Volkswagen Golf. See Exhibit l.

23. On or before l\/lay 12, 2014, Volkswagen knew or should have known about the
Defect because NHTSA opened an investigation of Kja l\/lotor Company vehicles whose
panoramic sunroofs were exhibiting the same defect
(https ://www-odi.nhtsa.dot. gov/acms/cs/ j axrs/download/doc/UCM455 l 60/INOA -EA 14002-

193 S.PDF , accessed on June 15, 2017`). Upon information and belief, automobile manufacturers

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monitor NHTSA investigations not only for their own vehicles but also for investigations of
vehicles with similar features

24. On April 14, 2016, NHTSA expanded its investigation inquiries as to Volkswagen
and other manufacturers regarding the Defect. See Exhibit 2 (Nat’l Highway Traffic Safety
Admin., EA]Z-@UZ: Gcnemf Orcler Directed to Molor Ve/iicle Mamg"acturens‘ (April l4, 20l6),
available at littji:,",tstatic.nhtsagovi'r_)di/inv/'Z0l4/`11\1 LM-EA l 4002-63477.1)<| t` (accessed on
September 25, 2017)). Volkswagen’s responses are not yet available on the NHTSA website. The
investigation remains open.

25. Despite knowing of the Defect, Volkswagen refuses to warn drivers of the danger
and continues to sell and lease the vehicles with defective panoramic sunroofs without disclosing
the Defect to consumers

26. Plaintiff seeks relief for himself and a class of all other consumers who purchased
or leased Volkswagen vehicles with panoramic sunroofs, or in the alternative all Colorado
consumers to redress the harm they sufferedas a result of the Defect. Plaintiff requests an award
of damages and appropriate equitable relief, including an order enjoining Volkswagen from
continuing to sell vehicles with the Defect and requiring Volkswagen to adequately disclose the
Defect to current Volkswagen owners and repair their vehicles

III. SUBSTANTIVE ALLEGATIONS
A. The Volkswagen Panoramic Sunroof Defect

27'. _ Volkswagen designs, manufactures markets, and distributes automobiles in the

United States under the Volkswagen brand name. Thc Volkswagen automobile models that are the

subject of this complaint (including Electric, Hybrid, GTi, SportWagen, and Alltrack Models) are;

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the Volk`swagen Beetle 2013-presentl, Volkswagen CC 2009-2017, Volkswagen Eos 2008-2014,
Voll<swagen Golf 20l0-present, Volkswagen Jetta 2009-present, Volkswagen Passat 2009-
present, Volkswagen Tiguan 2011-present, and Touareg 2005-present with factory-installed
panoramic sunroofs (collectively “Class Vehicles”). Plaintiffs anticipate amending the definition
of the Class Vehicles when Volkswagen identifies in discovery all of the vehicles it manufactured
and sold with the optional panoramic sunroof

28. Owners and lessees of Class Vehicles are referred to as “Class Members” er “the
Class.”

29. Starting in at least the 2002 model year, Volkswagen introduced vehicles with an
optional upgrade of a factory-installed panoramic sunroof. The panoramic sunroof designs in all
of the Class Vehicles are substantially similar in design and manufacture

30. Volkswagen generally markets the panoramic sunroofs as a luxury upgrade,
available even in its lower-end cars like the Tiguan.2 The cost to upgrade the sunroof, depending
upon the vehicle model, ranges from over one thousand to several thousand dollars The actual
material cost of the panoramic sunroofs is relatively low, making the option one of the most
profitable features in the automotive industry

31. The Volkswagen brochure for the 2015 Volkswagen Touareg describes its

panoramic power sunroof as giving a whole new meaning to the term “open road”:

 

1 Exc|uding certain model year 2013-2015 Beetle vehicles manufactured June 13, 2013, to July 3, 2014 inciudcd in
_Velkswagen’s safety recall with NHTSA Campaign Number: 14V~658. See Exhibit 3.

2 Bell, Lyndon. “Affordable SUVS with Panoramie Sunl‘oofs”Antob_vte/, www.autohylel.com_/sport-utililv-
ve|iic|es/car-buvirig-auit|esr'-al`t`urdab|e-snvs-with~panoramic-sunroot`s-1306351’. This website was last visited
on October 5, 2017.

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Av-uiini:le' panoramic power sumnel"

'r`»:»u h»:i‘,“»:- twa sen `lt ".c- i:éc-.lic-\v»:- it. ibm £-:‘r.'arnrrit,
pn».'.-cr's|i'_i-in g sulnrcu:i.Ll gives n whole n:'»s' meaning "u- l*i»:-
terrn `~:¢p=un ro~:ld.."

32. Panoramic sunroofs, made of tempered or laminated glass depending on the
manufacturer, attach to tracks, which in turn are set within a frame attached to the vehicle. Most
panoramic sunroofs, including those offered by Volkswagen, include a rctractable sunshade.

Examples of panoramic sunroofs appear in the photographs below.

2016 Volkswagen Touareg Panoranlic Sunroof3

 

37http://asksouthcentrevvvrom/201E»-vo|kswage1‘1-touareg-revie\vs/. This website was last visited on October 5, 2017.

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2010 Volkswagen J etta SportWagen TDI Pancramic Sunr00f5

 

4 https://www.ve|ks\vagenol`grandblanc.eom/new-Grand'+'B|aac-2017-\/01kswagcn-`l`iguan~Spert+Turbo-l-ril`\/Iotion-
WVGUV?AX()HK0291 28. This website was last visited on October 5, 2017.

5 http:/fwww.automobiog.nct/ZOI0/02/17!2010~vw-jetta~sportwagen»tdi-review/. This website was last visited on
October 51 2017.

 

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33. Panorarnic sunroofs present manufacturing, design, and safety challenges for
manufacturers because the large plates of glass take up much of the surface area of the vehicle’s
roof. The design and manufacturing defects described herein with respect to the Volkswagen
panoramic sunroofs outline how the shattering occurs in ways that are unknown and dangerous to
the driver and occupants

34. Onc particular challenge is the material make-up of the glass Whereas some
manufacturers such as Volvo and Honda, have used a laminated glass, other manufacturers such
as Toyota, Mercedes, Nissan, Kia, Hyundai, and Volkswagen, have opted to install panoramic
sunroofs with tempered glass that feature large areas of ceramic paint.

35. ln the automotive industry, tempered or toughened glass is generally made in the
same manner by all manufacturers a piece of annealed glass is shaped and cut as to original
equipment manufacturing (“OEl\/l”) standards The glass is heated and then rapidly cooled, i.e.,
tempered. The tempering process creates an outer layer of glass that is compressed (similar to

being shrink~wrapped) around a middle core of the glass that is constantly pressing outwards

 

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creating tension or tensile force. The compressive and tensile layers create a stronger piece of glass
as compared to non-tempered glazing. l~lowever, if the compressive layer is compromised the
entire piece of glass fails catastrophically and often explosively.

36. Problems with panoramic sunroofs are compounded by Voll<swagen’s use of
thinner glass Car makers, including Volkswagcn, are using thinner glass in panoramic sum‘oofs
to save weight and improve vehicle fuel efficiencyl Thinner glass, however, is very difficult to
temper properly (especially when thicknesses are 4 mm or less) as the compressive layers are
thinner, increasing the probability of catastrophic failure.

37. Additionally, the tempered glass used in the Class Vehicles features a ceramic paint
applied prior to tempering. Automotive ceramic paint or ceramic enamels are composed of fine
powders of low melting point glass frit, pigments, and other additive oxides, sulfides, or metals
After application of the ceramic enamel, the glass is then tempered, as described above. Thcse
ceramic enamels are applied on the top around the edges of panoramic sum‘oof glazing and serve
aesthetic and functional purposes The ceramic paint area appears as a “black band” along the edge
of the glass

38. Ceramic enamels are known “adulterants” and significantly weaken the structural
strength and integrity of the Class Vehicles’ tempered panoramic sunroof glazing. Among other
factors, ceramic enamels compromise glass strength beeause: (l) the enamels have different
thermal expansion coefficients than the glass substrates (the glass and the paint expand at different
rates), resulting in residual stress between the ceramic enamel and the glass substrate; and (2) the
glass frit will ion exchange with the glass substrate lessening or eliminating the compressive layer
above the tensile region thereby signihcantly weakening it.

39. The ceramic paint area is relatively small in conventional sunroofs, but ceramic

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paint areas have become larger with the advent of panoramic sunroofs resulting in the glass
becoming progressively weaker, more likely to spontaneously burst and, for the unsuspecting
driver and passengers more dangerous

40. ln 2013, the Korea Automobile Testing & Research institute (“KATRI”) concluded
that the enamel used for ceramic paint areas in panoramic sunroofs, like those installed in
Volkswagen vehicles, impairs the strength of the glass, making it not only less durable than the
usual toughened glass, but also less durable than ordinary glass For an example of these findings,
see Lee Kwang-bum, et al., A Snrcly Or.' Totrgiiened Glass Used For Ve/iict'es Ana' fits Testz'ng

l Merlmclls, No. 15-0152 available at httpst//www-esv.nhtsa.dot.gov/Proceedings/Z4/files/24ESV-
000152.PDF (accessed on June 15, 2015).

41. Following KATRl’s report, an lnformal Working Group on Panoramic Sunroof
Glazing was established by the United Nations Econornic Commission for Europe to evaluate the
safety of panoramic sunroofs. The Worl<ing Group is chaired by a representative from KATRI and
is considering whether to amend the UN regulations on safety glazing. At the end of June 2016,
the Working Group confirmed that conventional automotive glass enamels weaken the mechanical
strength of panoramic sunroof glazing. This working group’s findings and regulatory
recommendations are available at https://globalautoregs.eom/groups/93.

42. Another challenge presented by the panoramic sunroofs is the need to ensure the
sunroof glass is fastened to the vehicle with a sufficient degree of tightness. Volkswagen and other 7
manufacturers fasten the sunroof in a manner that reduces road and wind noise and makes them
less susceptible to rainwater incursion. At the same time though, flexing and vibration caused by
ordinary driving imposes stress on the sunroof, ultimately causing the glass to shatter. l`n the

Volkswagen models at issue, the compromised tempered glass cannot withstand the pressures and

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flexing that the sunroof frame and vehicle demand, even when the vehicle is brand new or is parked
and sitting still.
B. Consumer Complaints Reveal the Magnitude and Seriousness of the Defect

43. Below are just a few examples of the numerous complaints regarding Volkswagen
sunroofs lodged with NHTSA. (See also Exhibit l.) Few, if any, of the drivers who filed reports
with the federal government reported that their panoramic sunroof shattered because of an object
striking their vehicle. ln contrast, many of the drivers report that their panoramic sunroofs
spontaneously shattered while the vehicle was in motion. The complaints are viewable online at
https://www-odi.nhtsa.dot.gov/owners/SearchSafetylssues (accessed on August 22, 201 '/).6

Date Complaint Filed: 02/'28/2017'
Date of lncident: 02/27/2017
Vehicle Make Model Year(s): Volkswagen Golf2015

Slll[lf[lal‘y: THE PANORAN||C SUNROOF ON MY 2015 VW GOLF SE SPONTANEOUSLY
EXPLODED WH|LE DR|V|NG APPROXIMATELY 60 MPH ON THE FREEWAY AT
APPROXl|V|ATELY 9:‘15 P|V| ON 2/27/2017 ON HlGHWAY 880 |N OAKLAND. ABOUT ‘1/2 |VI|LE
SOUTH OF THE ORACLE COL|SEUM. NO CARS WERE NEAR N|E AND l WAS NOT UNDER
A BR|DGE, THUS NO EV|DENCE THAT THE SUNROOF WAS STRUCK BY AN EXTERNAL
OBJECT. THERE WAS ALSO NO V|S|BLE EV|DENCE OF DAMAGE TO THE GLASS PRIOR
TO ENTER|NG THE \/EH|CLEl | CHECK EVERY TIN|E | BUY GAS. THE GLASS SHATTERED
SUDDENLY |N A LOUD EXPLOS|ON THAT SOUNDED LiKE A GUNSHOT AND SHARDS
WERE SCATTERED THROUGHOUT THE |NTERFOR OF THE VEH|CLE AND COVERED
MYSELF AND IV|Y PASSENGER - ALTHOUGH MOST OF THE SHARDS BLEW OUTWARD
AND LANDED ON THE ROAD. THE EXPER|ENCE WAS EXTRE|V|ELV FR|GHTEN|NG AND
COULD HAVE CAUSED SER|OUS |NJUR|ES. LUCK|LY 1 WAS ABLE TO MA|NTA!N CAL|V|
AND SLOWLY DR|VE OFF THE FREEWAY RATHER THAN JERK|NG THE WHEEL WHEN
THE EXPLOS|ON HAPPENED. THE ONLY |NJUR|ES ARE EMOTIONAL AND 12 HOURS
LATER | AN| ST|LL F|ND|NG S|V|ALL SHARDS OF GLASS ON MY PERSON (HAiR, |NS|DE IV|Y
MOUTH AND NOSE, ON |VlY CLOTHES).

[NHTSA lD Number: 10957577]

Date Complaint Filed: 02/27/2017

Date of lncident: 02/2'7/201?"

Vehicle Make Model Year(s): Volkswagen Tiguan 2016
Sll[lll'll‘¢?ll‘y: WH|LE DR|V|NG ON THE H|GHWAY DUR|NG RUSH HOUR
THE SUNROOF SPONTANESOUSLY SHATTERED. THE SUNROOF WAS CLOSED AND THE
CLOTH SHiELD WAS TUCKED AWAY. |T SOUNDED L|KE A GUNSHOT AND DEAFENED MY

EARS FOR ABOUT 5 |V|INUTES. | THOUGHT SOMEONE F|RED A GUN OR A NEAREY CAR
GOT |NTO AN ACC|DENT S|NCE | FEl_T NO |MPACT OTHER THAN S_OUND. BECAUSE|

 

6 These customer complaint summaries are reproduced verbatim, and not corrected for any
grammar, spelling, or punctuation errors included in the original consumer descriptionl

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WAS DR|V|NG lWAS EXTREM ELY STARTLED WHEN | LOOKED UP AND SAW AN OPEN
W|NDOW AND GLASS HAD FALLEN ALL OVER ME. |T HAD HAPPENED SO QUICKLY. |
TR|ED TO PULL OVER |N THE NEAREST EX|T AND WH|LE GETT|NG OUT OF THE CAR
AND |V|ANEUVER|NG OUT. HAD CUT MYSELF SEVERAL T|lV|ES.

[NHTSA ID Number: 10957453]

Date Complaint Filed: 11/21/2016
Date of Incident: 11/16/2016
Vehicle Make Model Year(s): Volkswagen GT12012

Summal’yt SUNROOF EXPLODED L|KE A GUN SHOT WH|LE TRAVEL|NG ON THE
FREEWAY 60 IV|PH. HAD JUST ENTERED EXPRESS LANE AND FOUND |T VERY
D|SOR|ENT|NG AND D|STRACT|NG SINCE | THOUGHT l HAD BEEN SHOT AT. HAD TO
CHECK ALL THE W|NDOWS AND MY PERSON FOR GLASS OR |NJURY BEFORE | LOOKED
UP AND SAW THE LARGE HOLE |N THE SUNROOF. SUNROOF GLASS APPEARS TO BE
PROTRUD|NG OUTWARD - LIKE lT WAS PUSHED OUT FRO|V| THE |NTER|OR. NOT ALL THE
Gl_/-\SS CH|PS RECOVERED INS|DE THE CAR APPEAR TO EQUAL THE AREA OF THE HOLE
|N THE SUNROOF.

[NHTSA lD Number: 1092'7115]

Date Complaint Filed: 05/31/2016
Date ofIncident: 05/28/2016
Vehicle Make Model Year(s): Volkswagen Touareg 2011

Sllllllllal'y: WH|LE DR|V|NG AT APPROX|MATELY 60MPH ON A SMOOTH TWO LANE
W|DE H|GHWAY THE FRONT SUNROOF PANEL (PANORAM|C) SHATTERED. THERE WERE
NO OTHER VEH|Cl_ES ON THE ROAD, NO OVERPASSES AND NO TREES ABOVE. |TWAS
AROUND 65-70 DEGREES FAHRENHE|T. |TWAS NOT HA|L|NG OR RAlN|NG AT THE T|N|E.
NO OBJECTS WERE RECOVERED FROM |NS|DE OF THE VEH!CLE. THE GLASS APPEARED
TO HAVE BROKEN UPWARDS |NSTEAD OF |NWARDS. F|ANCE AND TWO DOGS (TRUNK
AREA) WERE |NS|DE OF THE CRUC|BLE. GLASS CAUSED VERY M|NOR CUTS. VEH|CLE
RECENTLY DETA|LED AND ALSO CLEANED BY |V|YSELF. NO ROCK CH|PS PRESENT

lN SUNROOF GLASS. NO V|S|BLE CRACKS PRIOR TO lNC|DENT.

[NHTSA ID Number: 10871581]

Date Complaint Filed: 12/18/2015
Date of incident 12/11/2015
Vehicle Make Model Year(s): Volkswagen Passat 2014

Slll]]ll'la!'y! EXPLOD|NG SUNROOF WH|LE DR|\/|NG 55 |V|PH lN NORMAL WEATHER
CONDIT|ONS; GLASS WAS PUSHED OUTWARD.
[NHTsA to Numba; 10811216]

Date Complaint Filed: 11/28/2014
Date of Incident: 11/26/2014
Vehicle Make Model Year(s): Volkswagen Passat 2010

Sl.ll]ll[lal‘y: WH|LE DRlV|NG ON THE H|GHWAYW|TH THE SUNROOF CLOSED. OUT OF
THE BLUE AND UNF'ROVOKED - THE SUNROOF EXPLODED. |T WAS NOT HlT EYANYTH|NG
TO CAUSE THIS. THE |VIAJOR|TY OF THE GLASS FLEW OUT, BUT HAD THE |NNER
PLAST|C SUNROOF MATER|AL BEEN OF’EN |T CERTA|NLY COULD HAVE |NJURED THOSE
|NS[DE. ADD|T|ONALLY OVER THE COURSE OF THE NEXT FEW DAYS | D|D F|ND DARK
GLASS SHARDS |N MY HA|R THAT HAD CLEARLY CO|V|E FRON| THE SUNRC)OF. MY STORY
|S LUCKY, BUT EASiLY COULD HAVE ENDED |N iNJURY TO DR|VER FROM THE GLASS OR
FRON| |NJUR|ES TO OTHERS ON THE ROAD CAUSED BV AN ACC|DENT PRO|V|PTED BY
THE SHOCK OF UNPROVOKED SHATTER|NG GLASS TO THE DRIVER. THE CAR |S NOT
VERY OLD (2010)AND THE SUNROOF |S CERTA|NLY NOT OVERUSED. TH|S ABSOLUTELY
CAN'T BE THE USERS' FAULT. *TR

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[NHTSA n) Namber; 10661192j

Date Complaint Filed: 09/15/2014
Date ofIncident: 08/30/2014
Vehicle Make Model Year(s): Volkswagen l etta 2010

Sllmlllal'y: WH|LE TRAVEL|NG ON |-96 WEST TRAVEL|NG AT YOMPH

THE SUNROOF WH|CH WAS CLOSED AT THE Tl|V|E SUDDENLY EXPLODED SEND|NG
SHARDS OF GLASS EVERYWHERE. |T SOUNDED L|KE A GUN WENT OFF IN THE VEH|CLE. |
WAS VERY FORTUNATE THAT THE SUNROOF CLJRTA|N WAS CLOSED AT THE T|ME WH|CH
CONTA|NED |VlOST OF THE GLASS SHARDS. TH|S |S A SER|OUS ISSUE THAT SHOULD BE
LOOKED |NTO. THERE WAS NOBODY ELSE ON THE H|GHWAY AROUND |VIE SO THERE |S
NO POSS|B|LITY THAT TH|S WAS A STONE OR OBJECT FRO|V| ANOTHER VEH|CLE. THE
TEMPERATURE OUTS|DE WAS 92 DEGREES F AND l HAD THE DR|VERS S|DE W|NDOW
OF’EN APPROXIMATELY 50%. TH|S WAS A TERR|BLE EXPER|ENCE THAT | WAS LUCKY TO
WALK AWAV FROM W|THOUT PHYS|CAL lNJURY. HOWEVER. lWll_L NOT DR|VE TH|S CAR
AGA|N W|THOUT AN EXP[_ANAT|ON! VERY DANGEROUS CAR![!! *TR

[NHTSA ID Number: 10633180]

Date Complaint Filed: 01/27/2014
Date of Incident: 01/22/2014
Vehicle Make Model Year(s): Volkswagen Passat 2012

Sllmlllal‘y: SUNROOF EXPLODED WHlLE DR|V|NG DOWN FREEWAY AT N|GHT. NO CARS
lN FRONT OF ME TO KlCK UP A ROCK. NO OVERPASSES FOR SOMETH|NG TO BE
THROWN FROM. COMF’LETELY RANDOM EXPLOS|ON. l HEARD A LOUD GUNSHOT SOUND,
THEN S|V|ALL GLASS PIECES RA|NED DOWN ON NlY HEAD AND FACE AND ALL OVER MY
THREE CH|LDREN IN THE BACK SEAT. LOOKED UP AND HEARD THE SOUND OF W|ND AND
SAW THE HOLE |N N|YSUNROOF. SO FAR THE DEALERSH|P HAS SA|D THEY WON'T
REF’LACE IT UNDER WARRANTY AND l HAVE REACHED OUT TO VW DlRECTl_Y AND THEY
ARE DENY|NG THE CLA||V| AS WELL. TH|S |S ABSOLUTELYA IV|ANUFACTUR|NG DEFECT
AND THEY ARE NOT STAND|NG BY THE|R PRODUCT. THEY ARE LUCKY NOBODY WAS
|NJURED OR K|LLED lN AN ACC|DENT. HOPEFULLY THAT DOESN'T HAVE TO HAPPEN FOR
THEM TO TAKE RESPONSIBIL|TY. *TR

[NHTSA ID Number: 10561722]

Date Complaint 'Filed: 04/11/2013

Date of Incident: 04/11/2013

Vehicle Make Model Year(s): Volkswagen J etta 2009
Summal‘yt SUNROOF EXPLODED UPWARDS, SHATTERED lNTO |VIANY T|NY PlECES. *TR
[NHTSA ID Number: 10505914]

Date Complaint Filed: 01/16/2011
Date ofIncident: 01/06/2011
Vehicle Make Model Year(s): Volkswagen J etta 2002

Slll]ll[lal‘yt l HAD DR|VEN THE CAR APPROX]MATELY 30 MlLES WHEN. WH|LE AT A STOP
L|GHT THE SUNROOFEXPLODED OUTWARD. THE PANE REN|A|NED |N ONE P|ECE. BUT
WAS SHATTERED AND Sl\/lAl_L SHARDS OF GLASS FE[_L DOWN ON |V|E. THE TE|VIP
OUTS|DE WAS 36 DEGREES, NO VEH|CLE PASSED BY, THERE WAS NO PO|NT OF IN|PACT,
NO SEVERE TE|V|PERATURE CHANGE, NO CH|P OR CRACK |N THE GLASS PRIOR TO THE
lNC|DENT. THE VEHICLE |S KEPT |N A GARAGE AND THERE WAS NO PREC|P|TAT|ON
(SNOW OR RA|N) ON THAT DAY. VW CLA|N|S NO FAULT OF THE|RS, BUT ADM[TS TO A
RECALL ON A TROUGH THAT LEADS FROM THE SUNROOF DOWN THROUGH THE DOORS
THAT'S KNOWN TO CLOG W|TH DEBR|S. VW W|LL NOT REPA|R AT THE|R COST.

[NHTSA lD Number: 10377743]

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C. Volkswagen’s Knowledge of the Defect

44. A survey of driver complaints shows that Volkswagen sunroofs often shatter within
weeks or months of purehase, and NHTSA was informed of this problem in Volkswagen vehicles
as early as 2010. See Exhibit 1.

45 . Like other automobile manufacturers Volkswagen monitors NHTSA for
information on emerging problems with its vehicles

46. On or before May 12, 2014, NHTSA opened an investigation of the panoramic
sunroofs failures, initially focused on 2011-2013 Kia Sorento panoramic sunroofs Sec' Nat’l
Highway Traffic and Safety Admin., U.S. Dep’t of Transp., Office of Defects lnvestigation: No.
EA 14-002 (Opened: 05/12/2014), littps://www-odi.nhtsa.dot. gov/owners/
SiearchResults ; j sessionid=l TZpYOHchJ vFCWzP616GkanFSleBOQv4TY l TTLLjYyCX3
Wbl’1052099763 (accessed on 1 unc 15, 2017). The investigation was soon expanded to other
vehicle manufacturers including Volkswagen.

47. As part of NHTSA’s open investigation into the panoramic sunroof shattering
safety issue, on April 14, 2016, NHTSA sent a letter to Volkswagen requesting information about
its vehicles with panoramic sunroofs, requesting Volkswagen identify all Volkswagen panoramic
roofs and complaints of shattered roofs for model years 2006-2016. See Exhibit 2.

48. The response-from Volkswagen was due on May 16, 2016, but has not yet been
posted on the NHTSA website.

49. On or around October 20, 2014, Volkswagen notiiied the NHTSA of its intent to
begin a safety recall campaign on December 14, 2014. Volkswagen’s campaign targeted owners
of Volkswagen Beetles manufactured between June 13, 2013 and July 3, 2014, offering to replace

the sunroof, free of charge, due to the glass sunroofs in the affected vehicles having the potential

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to break when the vehicles are operated over a hard road surface or strike a pothole. NHTSA’s
letter to Volkswagen, acknowledging the notice of the recall is attached as Exhibit 3.

50. Upon information and belief, Volkswagen is also aware that other manufacturers
whose vehicles suffered from similar shattering problems have voluntarily initiated safety recalls
to notify drivers of the danger and repair the sunroofs free of eost.

D. The Dangers Posed to Class Occupants

51. NHTSA, KATRI, and responsible automobile manufacturers have acknowledged
that the spontaneous failure of panoramic sunroofs endangers drivers, passengers, and others on
the road. A panoramic sunroof is an expensive upgrade option that costs thousands of dollars to
replace A reasonable person considering whether to purchase or lease a Volkswagen vehicle
would want to be informed about the panoramic sunroof defect before deciding whether to spend
the additional money.

52. When panoramic sunroofs shatter because of the defect while the Class Vehieles
are occupied, occupants report a suddcn, unexpected and extremely loud noise, followed by shards
of glass raining down onto the driver and passengers Drivers report that the falling shards of glass
have injured them, their passengers and have caused damage to their Class Vehicles. Drivers have
also reported a number of near-miss accidents that occurred after they were startled or distracted
because the sum'oof shattered while the vehicle was in motion. Both Volkswagen and NHTSA
have received reports of injuries caused by sunroof failurc. See Exhibit l.

53. Volkswagen has publicly recognized the safety risk. When Volkswagen initiated
its safety recall for certain vehicles with shattering panoramic sunroofs, it acknowledged that
drivers “could be injured by falling glass,” and that “[i]f the glass panel were to break while the

vehicle is in motion, it could cause the driver distraction, increasing the risk of a erash.” See Press

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Release, Volkswagen of America, lnc., Volicrwagen Issaes Vo[antary Recall (Dec. 7, 2014),
http://'media.vw.com/releasc/SSG/ (accessed on June `15, 2017).

54. Other manufacturers have recognized the safety risks When Hyundai initiated a
recall of some of its vehicles, it too acknowledged that the shattering of panoramic sunroofs
“relates to motor vehicle safety,” including by posing a risk of injury to vehicle occupants 1n
connection with the Hyundai recall, NHTSA wrote that the breaking of the panoramic sunroof
could lead “to personal injury or a vehicle crash.” See Letter from Robert Babcock, Hyundai
America Technical Center, Inc. (HATCI)’s Direct_or of Certification and Compliance Affairs, to
Naney Lewis, Associate Administrator for Enforcement at the NHTSA, regarding “Defect
Information Report” (December 6, 2012), https://_static.nhtsa.gov/odi/rcl/ZOI2/RCDNN-12V568-
7763.pdf?_ga=l.68163031.711047123.1487811501 (accessed on June 15, 2015).

55. ln connection with an Audi recall, NHTSA wrote that “should the sunroof’ s glass
break while the vehicle is in use, the falling glass could cut and injure the driver or passengers
[and] could also distract the driver, increasing the risk of a crash.”

56. KATRI concluded that the sudden shattering of a panoramic sunroof while driving
may cause “abrasions due to shattered glass” and also cause the “risk of secondary accidents.”

57. ln December of 2012, KATRI launched an investigation that culminated in
November 2013 when it met with numerous car manufacturers in Seoul, South Korea, announcing
its finding that the ceramic tint in panoramic sunroofs substantially weakened the glass and
compromising its safety. KATRl recommended widespread recalls.

E. Volkswagen Refuses to Warn Drivers
58. Despite the high number of complaints and the danger posed by the defect,

Volkswagen continues to conceal its existence from current owners of Class Vehicles and potential

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customers alike Volkswagen has not warned consumers at the point of sale/lease or when drivers
of Class Vehieles who have experienced a shattered sunroof bring their vehicles in for repairs
making no effort to alert consumers of the risk. Volkswagen knows of the defect yet continues to
profit from the sale and lease of Class Vehicles to unwitting customers

59. Volkswagen conceals the defect even though it knows it is not reasonably
discoverable by consumers unless they experience a failure and are exposed to the attendant safety
risks

60. Volkswagen remains silent even as it continues to receive complaints from
concerned drivers of Class Vehicles and the NHTSA investigators

61 . As a result of Volkswagen’s inaction and silence, consumers are unaware that they
purchased or leased a Class Vehicle which has a defective sunroof, and continue to drive these
unsafe Class Vehicles. ln addition, consumers who have experienced a failure and bring their Class
Vehicles to a dealership for repairs are not told that identically defective sunroofs are installed as
replacements in their Class Vchicles.

62. Volkswagen has voluntarily initiated a safety recall on a limited set of its vehicles
with the defect, notifying drivers ofthe danger and offering to repair the sunroofs free of cost (See
Exhibit 3), yet has failed to extend this offer to all Class Vehieles possessing the same defect
F. Volkswagen’s Dcccptive Warranty Practices

63. The relevant terms of the Volkswagen brand Class Vehicles’ warranties are
substantially the same: they are backed by a bumper-to-bumper warranty that lasts for six years or
72,000 miles whichever comes first

64. Plaintiff and/or Class Members experienced damage from the Defect within the

warranty periods of their vehicles Plaintiff and/or Class Members reasonably expected that any

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and all damage that resulted from the sunroof defect would be covered under the warranty, and
that they would not be charged anything for such repairs

65. Volkswagen has systematically denied coverage with respect to the defective
sunroofs. Plaintiff and Class Members have been forced to incur substantial repair bills and other
related damages including being forced to make claims under their automotive insurance policies
and incurring substantial deductibles.

V. PLAINTIFF’S EXPERIENCES

66. In February of 2014, Plaintiff Jonathan David and his wife Valerie purchased a
brand new 2014 Volkswagen Touareg from MeDonald VW in Littleton, Colorado for the purchase
price of $51,445. Plaintiff’ s vehicle included Volkswagcn’s panoramic sunroof with a movable
front panel and fixed back panel

67. Prior to buying his Touareg, Plaintiff did extensive research for a new car by
reading magazine reviews speaking with owners and questioning VW service technicians
Plaintiff’ s prior experience with Volkswagen vehicles also convinced him to purchase the Touareg.

68. The panoramic sunroof feature on the Touareg was a huge selling point for l\/lr.
David. The sunroof was the deciding factor in his decision to choose the “Lux” option package

69. At approximately 7:45 a.m. on January 7, 2016, Mr. David was driving the
Volkswagen, alone, heading south on 1-25 approximately one mile north of the Meadows exit in
Castle Rock, Colorado. lt was a cold, snowy morning and he was traveling around 70 mph in light
traffic The nearest vehicle was over one thousand feet in front of him and nothing was observed
being thrown or falling off of it or anything else on or near the highway l\/ir. David had been
driving for about thirty to forty minutes when he heard a sound so loud he initially thought it was

a gunshot or blowout. Mr. David was Startled and swerved slightly to the right, almost hitting the

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highway barrier. He felt glass falling on him and that the temperature in the vehicle was decreasing.
He looked up to see a hole in the sunroof and then quickly leaned forward to avoid any glass falling
into his eyes Mr. David suffered minor scratches to his back and neck from the falling glass With
no adequate shoulder to pull the vehicle onto, and nothing to cover the hole with, l\/lr. David
reduced his speed to about twenty-five miles per hour, turned orr his hazards and drove the vehicle
back to the garage of his home Upon exiting the vehicle, Mr. David noticed the sunroof glass had
blown upwards with some pieces of glass caught in the rear section of the panoramic sunroef.
Other pieces of glass had fallen into the back seat, front seats and onto the center console.

70. Below are photographs of the shattered sunroof in Mr. David’s 2014 Touareg.

 

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61. Mr. David called VW roadside support which towed the vehicle to Al Serra VW in
Colorado Springs. The service manager, Rich Frizell, inspected the damage and estimated the
repairs to cost approximately 31400. l\/Ir. David’s request to have the dealership pay for the repairs
was denied He telephoned Volkswagen customer service who informed him that they did not need
to see any photos of the damage to decide they were going to stand behind the dealership’s
decision He filed a claim through his insurance company, Esurance, which covered the repairs as
a comprehensive loss

62. Mr. David paid his insurance deductible of $500 for the repairs

63. Had Volkswagen disclosed the panoramic sunroof defect, l'\/[r. David would not
have purchased the vehicle or would have paid substantially less for it given the safety defect In
addition, he would not have suffered the economic damages that he sustained from the sunroof
failure Mr. David did not receive the benefit of the bargain Volkswagen failed to disclose the

Defect and the attendant risks associated with the Defect at the point of sale or otherwise
Vl. CLASS ACTION ALLEGATIONS

64. Pursuant to Fed. R. Civ. P. 23, Plaintiff Jonathan David brings this action
individually and on behalf of all others similarly situated as a member of the following proposed
Nationwide and Colorado classes (collectively, the “Classes”), on their federal and state claims as
purchasers and lessees of “Class Vehicles.” Class Vehicles include all models below that are
equipped with factory-installed panoramic sunroofs that are substantially similar in design and
manufacturing processes

¢ 2013-present model year Volkswagen Beetle vehicles7;

 

7 Excluding certain model year 2013-2015 Beetle vehicles manufactured June 13, 2013, to July 3, 2014 included in
Volkswagen’s safety recall with NHTSA Campaign Number: 14V-658. See Exhibit 3.

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¢ 2009-2017 model year Volkswagen CC vehicles

¢ 2009-2014 model year Volkswagen Eos vehicles

0 2010-present model year Volkswagen Golf vehicles

o 2009-present model year Volkswagen l etta vehicles

o 2010-present model year Voll<swagen Passat vehicles

o 201 l-prescnt model year Vo]kswagen Tiguan vehicles and
¢ 2009-present model year Volkswagen Touareg vehicles

Nationwide Class:

All persons and entities residing in the United States including its territories
who purchased or leased a Class Vehicle.

Colorado Class:

All persons and entities residing in Colorado who purchased or leased a Class
Vehicle in Colorado.

Excluded from the proposed classes are Volkswagen; any affiliate, parent, or subsidiary of
Volkswagen; any entity in which Volkswagen has a controlling interest; any officer, director, or
employee of Volkswagen; any successor or assign of Volkswagen; anyone employed by counsel
in this action; any judge to whom this case is assigned, his or her spouse; members of the judge’s
staff; and anyone who purchased the Class Vehicle for the purpose of resale

65. l\/fembers of the proposed classes are readily ascertainable because the class
definitions are based upon objective criteria.

66. Numerosi§j. Volkswagen sold many thousands of Class Vehicles, including a
substantial number in Colorado. Members of the proposed classes likely number in the thousands
and are thus too numerous to practically join in a single action. Class members may be notified of

the pendency of this action by mail, supplemented by public notice (if deemed necessary or

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appropriate by the Court).

67. Commonalitv and Predominance. Common questions of law and fact exist as to all
proposed members of the Classes and predominate over questions affecting only individual class
members These common questions include:

(a) Whether the panoramic sunroofs in the Class Vehicles have a propensity to
spontaneously shatter;

(b) Whether Volkswagen knew or should have known that its panoramic
sunroofs have a propensity to spontaneously shatter, and if so, when Volkswagen discovered this

(c) Whether the knowledge of this propensity to shatter would be important to
a reasonable person, because, among other things it poses an unreasonable safety hazard;

(d) Whether Volkswagen failed to disclose to and concealed from potential
customers the existence of the sunroofs’ propensity to spontaneously shatter;

(e) Whether Volkswagen breached its warranty obligations

(f] Whether the Court may enter an injunction requiring Volkswagen to notify
owners and lessees about the panoramic sunroofs’ propensity to spontaneously shatter;

(g) Whether the Court may enter an injunction requiring Volkswagen to cease
its practice of replacing shattered panoramic sunroofs with identically defective replacement
sunroofs

(h) Whether Volkswagen had a duty to disclose to Plaintiff and Class Membcrs
the true character, quality, and nature ofthe Class Vehicles and the sunroofdef`ect;

(i) l Whether Volkswagen’s conduct, as alleged herein, violates the Magnuson-
Moss Warranty Aet (“MMWA”), 15 U.S.C. § 2301, et seq.;

(j) Whether Volkswagen’s conduct, as alleged herein, violates the consumer

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protection laws of Colorado; and
(k) Whether Volkswagen’s conduct, as alleged herein, entitles Plaintiff and the
Class Members to restitution under the laws of their respective states

68. Typicality. Plaintiff s claims are typical of the claims of the proposed classes
Plaintiff and the members of the proposed classes all purchased or leased Class Vehicles with
panoramic sunroofs that have a propensity to spontaneously shatter, giving rise to substantially the
same claims As illustrated by class member complaints some of which are excerpted above, each
vehicle model included in the proposed class definitions has a panoramic sunroof with the same
Defect.

69. Adeguacy. Plaintiff is an adequate representative of the proposed classes because
his interests do not conflict with the interests of the members of the classes he seeks to represent
Plaintiff has retained counsel who are competent and experienced in complex class action
litigation, and will prosecute vigorously on Class Members’ behalf.

70. Superiority. A class action is superior to other available means for the fair and
efficient adjudication of this dispute The injury suffered by each Class Member, while meaningful
on an individual basis is not of such magnitude as to make the prosecution of individual actions
against Volkswagen economically feasible Even if Class Members themselves could afford
individualized litigation, the court system could not. ln addition to the burden and expense of
managing many actions arising from the defective sunroofs individualized litigation increases the
delay and expense to all parties and the court system presented by the legal and factual issues of`
the case By contrast, a class action presents far fewer management difficulties and provides the
benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court.

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71. fn the alternative, the proposed classes may be certified because:

(a) the prosecution of separate actions by the individual members of the proposed
classes would create a risk of inconsistent adjudications which could establish incompatible
standards of conduct for Volkswagen;

(b) the prosecution of individual actions could result in adjudications that as a practical
matter would be dispositive of the interests of non-party Class Members or which would
substantially impair their ability to protect their interests and

(c) Volkswagen acted or refused to act on grounds generally applicable to the proposed
classes thereby making appropriate final and injunctive relief with respect to members of the

proposed classes as a whole
VII. TOLLING OF THE STATUTES OF LIMITATIONS

72. Discovery Rule. Plaintif`f’s and Class Members’ claims accrued upoh discovery that
the panoramic sunroofs installed in their Class Vehicles were prone to spontaneous failure While
Volkswagen knew, and concealed, the fact that the panoramic sunroofs installed in the Class
Vehicles have a defect that causes spontaneous failure, Plaintiff and Class Members could not and
did not discover this fact through reasonable diligence

73. Active Concealment Tolling. Any statutes of limitations are tolled by

 

Volkswagen’s knowing and active concealment of the fact that the panoramic sunroofs installed
in the Class Vehicles suffered from the Defect. Volkswagen had a duty to disclose this defect and
its consequent performance and safety problems to Plaintiff and Class Members because
Volkswagen had knowledge of this defect and the defect was not known to nor easily discoverable
by Plaintiff and Class Members Despite its affirmative duty to disclose the nature and existence

of this defect, Volkswagen kept Plaintiff and Class Members ignorant ofvital information essential

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to the pursuit of their claim, without any fault or lack of diligence on the part of Plaintiff and Class
Members The details of Volkswagen’s efforts to conceal its above-described unlawful conduct
arc in its possession, custody, and control, to the exclusion of Plaintiff and Class Members
Plaintiff and Class Members could not have reasonably discovered the fact that the panoramic
sunroofs installed in their Class Vehicles were defective

74. Estoppel. Volkswagen was and is under a continuous duty to disclose to Plaintiff
and Class Members the true character, quality, and nature of the panoramic sunroofs installed in
the Class Vehicles At all relevant times and continuing to this day, Volkswagen knowingly,
affirmatively, and actively concealed the true character, quality, and nature of the panoramic
sunroofs installed in the Class Vehicles The details of Volkswagen’s efforts to conceal its above-
described unlawful conduct are in its possession, custody, and control, to the exclusion ofPlaintiff
and Class Members Plaintiff reasonably relied upon Volkswagen’s active concealment Based on
the foregoing, Volkswagen is estopped from relying on any statutes of limitation in defense of this
action.

75 . Eguitable Tolling. Volkswagen took active stops to conceal the fact that it
wrongfully, improperly, illegally, and repeatedly manufactured, marketed, distributed, sold, and
leased Class Vehicles with defective panoramic sunroofs. The details of Volkswagen’s efforts to
conceal its above-described unlawful conduct are in its possession, custody, and control, to the
exclusion of Plaintiff and Class Members However, Volkswagen’s failure to disclose and active
concealment of the defect amounts to bad faith and deception in and of itself When Plaintiff
learned about this material information, he exercised due diligence by thoroughly investigating the
situation, retaining counsel, and pursuing his claims Volkswagen fraudulently concealed its

above-described wrongful acts Should such tolling be necessary, therefore, all applicable statutes

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of limitation are tolled under the doctrine of equitable tolling.
V]]I. CLAIMS FOR RELIEF
COUNT 1
Violation of the Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C. § 2301, et seq.

(Plaintiff individually and 011 behalf of the Nationwide class and, alternatively, on behalf of
the Colorado Class) '

76. Plaintiff re-alleges- and incorporates by reference the preceding paragraphs as if
fully set forth hercin.

77. The Magnuson-Moss Warranty Act, 15 U.S.C. §2301(d)(1), provides a cause of
action for any consumer who is damaged by the failure of a warrantor' to comply with a written or
implied warranty

7 8. Plaintiff and Class Members are “consumers” within the meaning of 15 U.S.C. §
2301(3).

79. Volkswagen is a “supplier” and “warrantor" within the meanings of 15 U.S.C. §
2301(4)-(5).

80. Class Vehicles are “consumer products” within the meaning of 15 U.S.C. §
2301(1).

81. Volkswagen provided a written wan‘anty for each Class Vehicle. Volkswagen’s
express warranties are written warranties within the meaning of the MMWA, 15 U.S.C. § 2301(6).
The Class Vehicles’ implied warranties are covered under 15 U.S.C. §2301(7).

82. Volkswagen breached the warranties by:

a. Extending a 72 monthj72,000 mile warranty with the purchase or lease of
the Class Vehicles thereby warranting to repair or replace any part

defective in material or workmanship at no cost to the owner or lessee;

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b. Selling and leasing Class Vehicles with panoramic sunroofs that were
defective in material and workmanship, requiring repair or replacement
within the warranty periods ; and

c. Refusing to honor the express warranties by not repairing or replacing the
panoramic sunroofs free of charge.

83. Plaintiff and Class Members own Class Vehicles that experienced spontaneous
panoramic sunroof shattering during the period of warranty coverage

84. Despite Volkswagen’s warranty, Voll<swagen has not repaired or replaced these
shattered panoramic sunroofs at no charge to the consumersl ln fact, Voll<swagen has denied
claims made under its warranty(ies) by consumers whose Class Vehicle panoramic sunroof
shattered.

85. Volkswagen’s breach of express warranty(ies) has deprived Plaintiff and Class
Members of the benefit of the bargain.

86. Plaintiff and Class Members have had sufficient dealings with either Volkswagen
or its franchisees, representatives, and agents to establish any required privity of contract.
Nonetheless, privity is not required here because Plaintiff and each of the other Class Members
are intended third-party beneficiaries of contracts between Voll<swagen and its dealers and
specifically of Volkswagen’s express and implied warranties The dealers were not intended to be
the ultimate consumers of- the Class Vehicles and have no rights under the warranty agreements
with the Class Vehicles The warranty agreements were designed for and intended to benefit the
consumers only.

87. The amount in controversy of Plaintiff’ s individual claims meets or exceeds the

sum or value of 325.00. ln addition, the amount in controversy meets or exceeds the sum or value

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of $50,000.00 (exclusive of interest and costs) computed on the basis of all claims to be determined
in this suit.

88. Voll<swagen has been afforded reasonable opportunity to cure its breaches of
warranty, including when Plaintiff called to request repairs of the defective panoramic sunroof on
his vehicle

89. Pursuant to the provisions of 15 U.S.C. § 2310(e), Plaintiff and Class Members
have all sufficiently notified Volkswagen, thus providing Voll<swagen with reasonable opportunity
to correct its business practices and cure its breach of warranties under the MMWA.

90. Volkswagen has not cured the breach ofwan'anty described above and continues
to deny warranty coverage when Class Members present their vehicles for repair after their Class
Vehicles’ panoramic sunroofs spontaneously shattered.

91. Resorting to any informal dispute settlement procedure or affording Voll<;swagen
another opportunity to cure its breach of warranty is unnecessary and futile Any remedies
available through any informal dispute settlement procedure would be inadequate under the
circumstances, as Vo]lcswagen has repeatedly failed to disclose the panoramic sunroof defect or
provide repairs at no cost and, therefore, has indicated no desire to participate in such a process at
this time. Any requirement under the MMWA or otherwise that Plaintiff submit to any informal
dispute settlement procedure or otherwise afford Volkswagen a reasonable opportunity to cure its
breach of warranty(ies) is excused and/or has been satislied.

92. As a direct and proximate result of Voll<swagen’s warranty(ies) breach, Plaintiff
and Class Members sustained damages and other losses to be determined at trial. Volkswagen’s
conduct damaged Plaintiff and Class Members, who are entitled to recover damages, specific

performance, costs, attorneys’ fees, and other appropriate relief.

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COUNT 2
Unjust Enrichment

(Plaintiff individually and on behalf of the Nationwide Class,
and alternatively, on behalf of the Colorado Class)

93. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

94. As described above, Voll<swagen sold Class Vehicles to Plaintiff and Class
Members even though the panoramic sunroofs installed in those Class Vehicles were defective and
posed a safety hazard Volkswagen failed to disclose its knowledge of the sunroof defect and the
defect’s attendant risks-- at the point of sale or otherwise

95. Voll<swagen unjustly charged and charges Plaintiff and Class Members for repairs
and/or replacement of the defective panoramic sunroofs without disclosing that the defect is
Widespread and that the repairs do not address the root cause of the defect.

96. As a result of its acts and omissions related to the defective sunroofs, Vollcswagen
obtained monies that rightfully belong to Plaintiff and Class Members.

97. Volkswagen appreciated, accepted, and retained the non~gratuitous benefits
conferred by Plaintiff and Class Members who, without knowledge of the defect, paid a higher
price for their vehicles than those vehicles were worth. Voll<swagen also received monies for
vehicles that Plaintiff and Class Members would not have otherwise purchased had they been
aware of the defect.

98. lt would be inequitable and unjust for Voll<swagen to retain these wrongfully
obtained protits.

99. Volkswagen’s retention of these wrongfully-acquired profits would violate

fundamental principles of justice, equity, and good conscience

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COUNT 3
Violations of the Colorado Consumer Protection Act (Col. Rev. Stat. § 6-1-101, et seq.)
(Plaintiff individually and on behalf of the Colorado Class)

100. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

101. Plaintiff Jonathan David brings this action on behalf of himself and the Colorado
Class.

102. Defendant is a "person[s]" under § 6-1 -1 02(6) of the Colorado Consumer Protection
Act ("Colorado CPA"), Col. Rev. Stat. § 6-1-101, et seq.

103. Plaintiff and Colorado Class Members are "consurners" for purposes of Col. Rev.
Stat § 6~1-113(1)(a) who purchased or leased one or more Class Vehicles.

104. The Colorado CPA prohibits deceptive trade practices in the course of a person’s
business. Volkswagen engaged in deceptive trade practices prohibited by the Colorado CPA,
including: (1) knowingly making a false representation as to the characteristics, uses and benefits
of the Class Vehicles that had the capacity or tendency to deceive Colorado Class Members; (2)
representing that the Class Vehicles are of a particular standard, quality and grade even though
Volkswagen knew or should have known they are not; (3) advertising the Class Vehicles with the n
intent not to sell them as advertised; and (4) failing to disclose material information concerning
the Class Vehicles that was known to Volkswagen at the time of advertisement or Sale with the
intent to induce Colorado Class Members to purchase, lease or retain the Class Vehicles.

105. ln the course of their business, Volkswagen concealed and Suppressed material
facts concerning the Class Vehicles Volkswagen made numerous material misrepresentations and

omissions of fact with intent to mislead and deceive concerning the Class Vehicles, particularly

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with regard to the sustainability/fitness of the panoramic sunroofs. Specifically, Volkswagen
intentionally concealed and suppressed material facts concerning the quality of the Class Vehicles
in order to intentionally and grossly defraud and mislead Plaintiff and Colorado Class Members
concerning the safety of the panoramic sunroof feature

106. Defendants thus violated the Act by, at minimum: employing deception, deceptive
acts or practices, fraud, misrepresentations, or concealment, suppression or omission of any
material fact with intent that others rely upon such concealment, suppression or-ornission, in
connection with the sale of Class Vehicles. Volkswagen’s actions as set forth above occurred in
the conduct of trade or commerce Volkswagen intentionally and knowingly misrepresented
material facts regarding the Class Vehicles with intent to mislead Plaintiff and the Colorado Class.
Volkswagen knew or should have known that its conduct violated the Colorado CPA.

107. Volkswagen owed Plaintiff a duty to disclose public health and safety risks and the
devaluing of safety at Volkswagen, because Volkswagen made incomplete representations about
the safety of the Class Vehicles, while purposefully withholding material facts from Plaintiff that
contradicted these representations

108. Defendants concealed the defective panoramic sum'oofs in the Class Vehicles
resulting in a raft of negative publicity once the defects finally began to be disclosed The value of
the Class Vehicles has therefore greatly diminished fn li ght of the stigma attached to those vehicles
by Volkswagen’s conduct, the Class Vehicles are now worth significantly less than they otherwise
would be worth.

109. Volkswagen’s unfair or deceptive acts or practices were likely to and did in fact
deceive reasonable consumers, including Plaintiff and Colorado Class Members, about the true

quality of the Volkswagen brand, and the devaluing of the integrity at Volkswagen, and the true

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value of the Class Vehicles.

ll(). Plaintiff and the Colorado Class suffered ascertainable loss and actual damages as
a direct and proximate result of Volkswagen’s misrepresentations and its concealment of and
failure to disclose material informationl Plaintiff and the Colorado Class Members who purchased
or leased the Class Vehicles would not have purchased or leased them at all and/or f if the
Vehicles’ true nature had been disclosed and mitigated - would have paid significantly less for
them.- Plaintiffs also suffered diminished value of their vehicles, as well as lost or diminished use

lll. Volkswagen had an ongoing duty to all Volkswagen customers to refrain from
unfair and deceptive practices under the Colorado CPA. All owners of Class Vehicles suffered
ascertainable loss in the form of the diminished value of their vehicles as a result ofVolkswagen’s
deceptive and unfair acts and practices made in the course of Volkswagen’s business

112. Plaintiff and Colorado Class Members risk irreparable injury as a result of
Volkswagen’s acts and omissions in violation of the Colorado CPA, and these violations present
a continuing risk to Plaintiff as well as to the general public. Volkswagen’s unlawful acts and
practices complained of herein affect the public interest.

l 13. As a direct and proximate result of Volkswagen’s violations of the Colorado CPA,
Plaintiff and Colorado Class have suffered injury~in-fact and/or actual damage

114. Pursuant to Colo. Rev. Sat. § 6-1-113, Plaintiff, individually and on behalf of the
Colorado Class, seeks monetary relief against Volkswagen measured as the greater of (a) actual
damages in an amount to be determined at trial and discretionary trebling of such damages, or (b)
statutory damages in the amount of $500 for Plaintiff and each Colorado Class member.

115 . Plaintiff also seeks an order enjoining Volkswagen’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief available

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under the Colorado CPA.
COUNT 4

Breach of the Implied Warranty of Merchantability
(Col. Rev. State. §§ 4-2-314 and 4-2.5-212)

(Plaintiff individually and on behalf of the Colorado Class)

ll6. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

ll?. Volkswagen is and was at all relevant times “merchant[s]” with respect to motor
vehicles under Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5~103(3), and a “seller[s]’7 ofnrotor vehicles
under § 4-2-103(1)(d).

1'18. With respect to leases, Volkswagen was at all relevant times a “lessor[s]” of motor
vehicles under Colo. Rev. Stat. § 4-2-.5-103(1)(p).

119. The Class Vehicles are and were at all relevant times ‘“goods’ within the meaning
of Colo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(])(11).

120. A warranty that the Class Vehicles were in merchantable condition and tit for the
ordinary purpose for which vehicles are used is implied by law pursuant to Colo. Rev. Stat. §§ 4-
2~313 and 4-2.5’212).'

121. These Class Vehicles, when sold or leased and at all times thereafter', were not in
merchantable condition and are not fit for the ordinary purpose for which vehicles are used
Specifically, the Class Vehicles are inherently defective in that time

122. Volkswagen was provided notice of these issues by the investigations of federal
regulators, numerous complaints filed against it including the instant Cemplaint, and by numerous
individual letters and communications sent by Plaintiff and others within a reasonable amount of

time after the allegations of Class Vehicle defects became public.

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123. Volkswagen was and is in actual or constructive privity with Plaintiff and Colorado
Class Members f
(a) Plaintiff and the Colorado Class Members had and continue to have sufficient direct
dealings with Volkswagen and/or its authorized dealers, franchisees,
representatives, and agents to establish any required privity of contract.
Volkswagen’s authorized dealers, franchisees, representatives, and agents were not
intended to be the ultimate consumers of the Class Vehicles and have no rights
under the warranty agreements provided with the Class Vehicles The warranty
agreements were designed for and intended to benefit only the ultimate purchasers
and lessees ofthe Class Vehicles, i.e., Plaintiffs and the Colorado Class Members
(b) Privity is not required to assert this claim because Plaintiff and the Colorado Class
Members are intended third-party beneficiaries of contracts between Volkswagen
and its dealers, franchisees, representatives, and agents
(c) By extending express written warranties to end-user purchasers and lessees,
Volkswagen brought itself into privity with Plaintiff and Colorado Class Members
124. At all relevant times, Colorado law imposed upon Volkswagen a duty that the
sunroofs installed in the Class Vehicles were fit for the ordinary purposes for which panoramic
sunroofs are used and that they pass without objection in the trade under the contract description
125. Volkswagen has not validly disclaimed, excluded, or modified the implied
warranties or duties described above, and any attempted disclaimer or exclusion of the implied
warranties was and is ineffectual
126. The sunroofs installed in the Class Vehicles were defective at the time they left

Volkswagen’s possession Volkswagen knew of this defect at the time the purchase and lease

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transactions occurred Thus, the sunroofs installed in the Class Vehicles, when sold or leased and
at all times thereafter, were not in merchantable condition or quality because they are not fit for
their ordinary intended purpose and they do not pass without objection in the trade under the
contract description n

127. Volkswagen failed to inform Plaintiff and Colorado Class Members of the defective
condition of the panoramic sum‘oofs. The failure to warn Plaintiff and Colorado Class Members
of this defective condition constitutes a further breach by Volkswagen of the implied warranties
of merchantabilityl

128. Plaintiff and Colorado Class Members used the sunroofs installed in the Class
Vehicles in a manner consistent with their intended use and performed each and every duty
required under the terms of the warranties, except as may have been excused or prevented by the
conduct of Volkswagen or by operation of law in light of Volkswagen’s unconscionable conductl

129. Volkswagen had actual knowledge of, and received timely notice regarding, the
defect at issue in this litigation and, notwithstanding such notice, failed and refused to offer an
effective remedy.

130. ln addition, Volkswagen received, en information and belief, numerous consumer
complaints and other notices from customers advising of the defect associated with the sunroofs
installed in the Class Vehicles.

131. By virtue of the conduct described herein, Volkswagen breached the implied
wan'anty of merchantability

132. As a direct and proximate result of Volkswagen’s breach of warranties, Plaintiff
and Colorado Class Members suffered economic damage, including loss attributable to the

diminished value of their Class Vehicles, loss of use of their Class Vehicles and other tangible

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property, as well as the monies spent and to be spent to repair and/or replace their sunroofs.

133. Plaintiff and Colorado Class Members are entitled to legal and equitable relief
against Volkswagen, including damages, consequential damages, specific performance attorney
fees, costs of suit, and such further relief as the Court may deem proper.

134. As a direct and proximate result of Volkswagen’s breach of the implied warranty
of merchantability, Plaintiff and Colorado Class members have been damaged in an amount to be
proven at trial.

COUNT 5
Breach of Express Warranty (Col. Rev. State. §§ 4-2-313 and 4-2.5-210)
(Plaintiff individually and on behalf of the Colorado Class)

135 . Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein

136. Volkswagen is and was at all relevant times a “merchant[s]” with respect to motor
vehicles under Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3), and a “seller‘[s]” of motor vehicles
under § 4-2~1()3(1)(d).

137. With respect to leases, Volkswagen was at all relevant times a “lessor[s]’-’ of motor
vehicles under Colo. Rev. Stat. § 4-2-.5-103(1)(p).

138. The Class Vehicles are and were at all relevant times “goods’ within the meaning '
ofColo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).

139. ln connection with the purchase or lease of each one of its new vehicles,
Volkswagen provided an express New Vehicle Limited Warranty (“NVLW”) for a period of six
years or 72,000 miles, whichever occurs first. This NVLW exists to provide “virtually bumper to

bumper coverage” for Volkswagen vehicles and to provide any repairs needed “to correct a defect

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in manufacturer’s material or workmanship.”

140. Volkswagen warranties formed a basis of the bargain that was reached when
Plaintiff and Colorado Class Members purchased or leased their Class Vehicles equipped with
panoramic sunroofs.

141. Plaintiff and Colorado Class Members experienced defects within the warranty
period Despite the existence of warranties, Volkswagen failed to inform Plaintiff and Colorado
Class Members that the Class Vehicles were defectively manufactured and failed to fix the
defective panoramic sunroofs free of charge

142. Volkswagen breached the express warranty promising to repair and correct a
manufacturing defect or materials or workmanship of any parts they supplied Volksw agen has not
repaired or adjusted, and has been unable to repair or adjust, the Class Vehicles’ materials and
workmanship defects

143. Affording Volkswagen a reasonable opportunity to cure their breach of written
warranties would be unnecessary and futile here

144. Furthermore, the limited warranty promising to repair and/or correct a
manufacturing defect fails in its essential purpose because the contractual remedy is insufficient
to make Plaintiff and the Colorado Class Members whole and because Volkswagen has failed
and/or have refused to adequately provide the promised remedies within a reasonable time

145. Aecordingly, recovery by Plaintiff and the Colorado Class Members is not
restricted to the limited warranty promising to repair and/or correct a manufacturing defect, and
Plaintiff, individually and on behalf of the Colorado Class Members, seeks all remedies as allowed
by law.

146. Also, as alleged in more detail herein, at the time Volkswagen warranted and sold

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or leased the Class Vehicles, they knew that the Class Vehicles were inherently defective and did
not conform to their warranties; further, Volkswagen had wrongfully and fraudulently concealed
material facts regarding the Class Vehicles. Plaintiff and the Colorado Class Members were
therefore induced to purchase or lease the Class Vehicles under false and/or fraudulent pretenses

147. Moreover, many of the injuries flowing from the Class Vehicles cannot be resolved
through the limited remedy of replacements or adjustments, as many incidental and consequential
damages have already been suffered because of Volkswagen's fraudulent conduct as alleged
herein, and because ofits failure and/or continued failure to provide such limited remedy within a
reasonable time, and any limitation on Plaintiff‘s and the Colorado Class l\/lembers' remedies would
be insufficient to make Plaintiff and the Colorado Class Members whole

148. Finally, because of Volkswagen’s breach of warranty as set forth herein, Plaintiff
and the Colorado Class Members assert, as additional and/or alternative remedies, the revocation
of acceptance of the goods and the return to Plaintiff and the Colorado Class Members of the
purchase or lease price of all Class Vehicles currently owned or leased, and for such other
incidental and consequential damages as allowed

1_49. Volkswagen was provided notice of these issues by numerous complaints filed
against them, including the instant Complaint, within a reasonable amount of time after
Volkswagen became aware of the defective panoramic sum'oofs in the Class Vehicles

IX. PRAYERS FOR RELIEF

WHEREFORE, Plaintiff on behalf of himself and the class requests that the Court enter a
judgment awarding the following relief:

A. An order certifying the proposed classes and appointing Plaintiff’ s counsel to

represent the classes;

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B. An order awarding Plaintiff and Class Members their actual damages, punitive
damages, and/or any other form of monetary relief provided by law;

C. An order awarding Plaintiff and Class Members restitution disgorgement, or other
equitable relief as the Court deems proper;

D. An order requiring Volkswagen to adequately disclose and repair the defective
panoramic sum'oofs;

E. An order awarding Plaintiff and Class Members pre-judgment and post-judgment
interest as allowed under the law;

F. An order awarding Plaintiff and Class Members reasonable attomeys’ fees and
costs of suit, including expert witness fees; and

G. An order awarding such other and further relief as`this Court may deem just and
proper. 4

X. JURY DEMAND

Pursuant to F ed R. Civ. P. 38(b), Plaintiff demands a trial by jury all issues so triable under

the law.

DATED: November 6, 2017 Respectfully subrnitted,
SIMMONS HANLY- CONROY LLC

Kr/Mr`tclrell M'. Breit

Mitchell l\/l. Breit

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